                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                                       Chapter 7

    AKORN HOLDING COMPANY LLC,                                   Case No. 23-10253 (KBO)
    et al., 1
                    Debtors.                                     (Jointly Administered)

    THIRD AMENDED2 NOTICE OF AGENDA FOR HEARING SCHEDULED
 FOR MAY 30, 2023 AT 11:00 A.M. (PREVAILING EASTERN TIME), BEFORE THE
HONORABLE KAREN B. OWENS AT THE UNITED STATES BANKRUPTCY COURT
   FOR THE DISTRICT OF DELAWARE, LOCATED AT 824 NORTH MARKET
  STREET, 6TH FLOOR, COURTROOM NO. 3, WILMINGTON, DELAWARE 19801

This hearing will be conducted in person. All parties, including witnesses, are expected to attend
in person unless permitted to appear via Zoom. Participation at the in-person court proceeding
using Zoom is allowed only in the following circumstances: (i) counsel for a party or a pro se
litigant files a responsive pleading and intends to make only a limited argument; (ii) a party or a
representative of a party is interested in observing the hearing; (iii) a party is proceeding in a
claims allowance dispute on a pro se basis; (iv) an individual has a good faith health-related
reason to participate remotely and has obtained permission from chambers to do so; or (v) other
extenuating circumstances that warrant remote participation as may be determined by the Court.3

If appearance via Zoom is permitted, please use the following link to register for this
hearing to appear via Zoom. All individuals participating by video must register at least
two (2) hours prior to the hearing. After registering your appearance by Zoom, you will
receive a confirmation email containing information about joining the hearing.

https://debuscourts.zoomgov.com/meeting/register/vJIscOqrrTwtHjjfCPNTp1iZcJFG10mFHwg

                 Topic: Akorn Holding Company LLC et al – Case No. 23-10253 (KBO)
                     When: May 30, 2023 at 11:00 a.m. (Prevailing Eastern Time)

             You must use your full name when registering and logging into Zoom or you will
                                  not be granted access to the hearing.
                             CourtCall will NOT be used for this hearing.



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  The Debtors in these chapter 7 cases, along with the last four digits of their federal tax identification numbers, and
cases numbers are Akorn Holding Company LLC (9190), Case No. 23-10253 (KBO); Akorn Intermediate Company
LLC (6123), Case No. 23-10254 (KBO); and Akorn Operating Company LLC (6184), Case No. 23-10255. The
Debtors’ headquarters is located at 5605 CenterPoint Court, Gurnee, IL 60031.
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  Amended Notice of Agenda items appear in bold text.
3
  See Chambers Procedures of the Honorable Karen B. Owens dated October 3, 2022.
https://www.deb.uscourts.gov/content/judge-karen-b-owens


                                                           1
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MATTERS BEING ADJOURNED:

1.   Sale Hearing Regarding Trustee’s Motion for Entry of (I) an Order (A) Approving
     Bidding Procedures in Connection with Sale of Substantially all of the Estates’ Assets,
     (B) Scheduling an Auction and Hearing to Consider the Proposed Sale, and (C)
     Approving the Form and Manner of Notice Thereof; and (II) an Order (A) Approving the
     Sale, (B) Authorizing the Assumption and Assignment of Executory Contracts and
     Unexpired Leases, and (C) Granting Certain Related Relief (the “Sale Motion”)
     [Filed 4/20/2023; Docket No. 106]

     Related Documents:             (a)   Entered Order Granting Trustee’s Motion for Entry of an
                                          Order (A) Approving Bidding Procedures in Connection
                                          With Sale of Substantially All of the Estates’ Assets, (B)
                                          Scheduling an Auction and Hearing to Consider the
                                          Proposed Sale, (C) Approving the Form and Manner of
                                          Notice Thereof, and (D) Granting Certain Related
                                          Relief (the “Bidding Procedures Order”)
                                          [Filed 4/28/2023; Docket No. 137]

                                    (b)   Notice of Sale of Assets, Auction, and Sale Hearing
                                          [Filed 5/1/2023; Docket No. 145]

                                    (c)   Notice of Executory Contracts and Unexpired Leases that
                                          May be Assumed and Assigned, Pursuant to Section 365 of
                                          the Bankruptcy Code, in Connection with the Sale of
                                          Substantially all of the Debtors’ Assets, and the Proposed
                                          Cure Amounts
                                          [Filed 5/1/2023; Docket No. 146]

                                    (d)   Notice of Successful Bidders and Alternate Bidders
                                          [Filed 5/18/2023; Docket No. 204]

                                    (e)   Notice of Adequate Assurance of Future Performance
                                          [Filed 5/23/2023; Docket No. 227]

                                    (f)   Declaration of Teva Pharmaceuticals, Inc. in Support of
                                          Trustee's Motion for Entry of (I) an Order (A) Approving
                                          Bidding Procedures in Connection with Sale of
                                          Substantially All of the Estates' Assets (B) Scheduling an
                                          Auction and Hearing to Consider the Proposed Sale, and (C)
                                          Approving the Form and Manner of Notice Thereof; and
                                          (II) An Order (A) Approving the Sale, (B) Authorizing the
                                          Assumption and Assignment of Executory Contracts and
                                          Unexpired Leases, and (C) Granting Certain Related Relief
                                          [Filed 5/25/2023; Docket No. 238]


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    Objection Deadlines:1           Sale Objection Deadline:…………….. May 16, 2023

                                    Objections to Proposed Cure Amounts
                                    and Assumption/Assignment of
                                    Executory Contracts/Leases:………...          May 16, 20232

                                    Replies to Cure Objections and
                                    Assumption/Assignment of Executory
                                    Contracts/Leases:…………………….                 May 18, 2023

                                    Objections under §365(f)(2) to
                                    Assumption/Assignment of Executory         at or before Sale
                                    Contracts/Leases:…………………….                 Hearing

                                    Replies to Objections under §365(f)(2)
                                    to Assumption/Assignment of            at or before Sale
                                    Executory Contracts/Leases……….         Hearing


    Responses Received:                                                           Status

    (g)      Reservation of Rights of the Chubb Companies              No purchaser is seeking
             with Respect to Trustee’s Motion for Entry of             assumption and/or
             (I) an Order (A) Approving Bidding Procedures             assignment of contracts/
             in Connection with Sale of Substantially all of           agreements of Chubb
             the Estates’ Assets, (B) Scheduling an Auction            Companies. Trustee will
             and Hearing to Consider the Proposed Sale, and            not be proceeding to seek
             (C) Approving the Form and Manner of Notice               assumption and/or
             thereof; and (II) an Order (A) Approving the              assignment of contracts/
             Sale, (B) Authorizing the Assumption and                  agreements of Chubb
             Assignment of Executory Contracts and                     Companies at the hearing.
             Unexpired Leases, and (C) Granting Certain
             Related Relief
             [Filed 5/3/2023; Docket No. 151]




1
  Objection Deadlines as provided in the Bidding Procedures Order.
2
  The Trustee has granted an extension to certain contract parties in an effort to consensually resolve
informal inquiries regarding cure and/or assumption/`assignment of executory contracts and leases.

                                                  3
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    (h)      Objection of Creditor M. Jacob & Sons, d/b/a       No purchaser is seeking
             MJS Packaging, to Debtors’ Proposed Cure           assumption and/or
             Amount                                             assignment of contracts/
             [Filed 5/15/2023; Docket No. 173]                  agreements of M. Jacob &
                                                                Sons, d/b/a MJS Packaging.
                                                                Trustee will not be
                                                                proceeding to seek
                                                                assumption and/or
                                                                assignment of contracts/
                                                                agreements of M. Jacob &
                                                                Sons, d/b/a MJS Packaging
                                                                at the hearing.

    (i)      Oracle’s Rights Reservation Regarding the          No purchaser is seeking
             Trustee’s Sale Motion and Assumption Notice        assumption and/or
             [Filed 5/16/2023; Docket No. 179]                  assignment contracts/
                                                                agreements of Oracle.
                                                                Trustee will not be
                                                                proceeding to seek
                                                                assumption and/or
                                                                assignment of contracts/
                                                                agreements of Oracle at the
                                                                hearing.

    (j)      Objection of Interior Specialty Construction,      No purchaser is seeking
             Inc. and Sullivan Contractors, LLC to Notice of    assumption and/or
             Executory Contracts and Unexpired Leases that      assignment of contracts/
             May be Assumed and Assigned, Pursuant to           agreements of Interior
             Section 365 of the Bankruptcy Code, in             Specialty Construction, Inc.
             Connection with the Sale of Substantially all of   and Sullivan Contractors,
             the Debtors’ Assets, and the Proposed Cure         LLC. Trustee will not be
             Amounts                                            proceeding to seek
             [Filed 5/16/2023; Docket No. 180]                  assumption and/or
                                                                assignment of contracts/
                                                                agreements of Interior
                                                                Specialty Construction, Inc.
                                                                and Sullivan Contractors,
                                                                LLC at the hearing.




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    (k)      Objection of AmerisourceBergen Drug                No purchaser is seeking
             Corporation and Affiliates to Cure Amounts         assumption and/or
             and Reservation of Rights                          assignment of contracts/
             [Filed 5/16/2023; Docket No. 182]                  agreements of
                                                                AmerisourceBergen Drug
                                                                Corporation et al. Trustee
                                                                will not be proceeding to
                                                                seek assumption and/or
                                                                assignment of contracts/
                                                                agreements of
                                                                AmerisourceBergen Drug
                                                                Corporation et al at the
                                                                hearing.

    (l)      Limited Objection and Reservation of Rights        Matter will be heard with
             Regarding Notice of Executory Contracts and        the adjourned hearing date
             Unexpired Leases That May Be Assumed and           for the Sale Motion.
             Assigned, Pursuant to Section 365 of the           Purchaser (Hikma) seeks
             Bankruptcy Code, in Connection With the Sale       assignment of agreements
             of Substantially All of the Debtors’ Assets, and   with Patheon
             the Proposed Cure Amounts Filed by Thermo          Manufacturing Services,
             Fisher Scientific, Inc., Fisher Scientific         L.L.C.
             Company, L.L.C., Patheon Manufacturing
             Services, L.L.C., Patheon Pharmaceuticals, Inc.,
             Patheon, Inc., and PPD Development, LP (f/k/a
             PPD Development L.L.C.)
             [Filed 5/16/2023; Docket No. 185]

    (m)      Objection of Teva Affiliates to Proposed Cure      No purchaser is seeking
             Amounts                                            assumption and/or
             [Filed 5/16/2023; Docket No. 186]                  assignment of contracts/
                                                                agreements of Teva
                                                                Affiliates. Trustee will not
                                                                be proceeding to seek
                                                                assumption and/or
                                                                assignment of contracts/
                                                                agreements of Teva
                                                                Affiliates at the hearing.




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    (n)      Objection of Creditor Henderson Constructors,       No purchaser is seeking
             Inc. to Debtors’ Proposed Cure Amount and to        assumption and/or
             Assumption and Assignment of Superseded             assignment of
             Proposal                                            contracts/agreements of
             [Filed 5/16/2023; Docket No. 188]                   Henderson Constructors,
                                                                 Inc. Trustee will not be
                                                                 proceeding to seek
                                                                 assumption and/or
                                                                 assignment of contracts/
                                                                 agreements of Henderson
                                                                 Constructors, Inc. at the
                                                                 hearing.

    (o)      McKesson Corporation and Certain Corporate          No purchaser is seeking
             Affiliates’ Objection to Proposed Assumption        assumption and/or
             and Assignment of Executory Contracts and           assignment of contracts/
             Reservation of Rights                               agreements of McKesson
             [Filed 5/16/2023; Docket No. 189]                   Corporation et al. Trustee
                                                                 will not be proceeding to
                                                                 seek assumption and/or
                                                                 assignment of contracts/
                                                                 agreements of McKesson
                                                                 Corporation et al at the
                                                                 hearing.


    (p)      Reservation    of    Rights and      Conditional    Matter will be heard with
             Objection of Chicago Infill Industrial Properties   the adjourned hearing date
             LP and Westmount Realty Capital, LLC to             for the Sale Motion.
             Trustee’s Motion to Sell Substantially all of the   Although no purchaser is
             Debtors’ Assets                                     seeking to assume or assign
             [Filed 5/16/2023; Docket No. 190]                   Vernon Hills lease, the
                                                                 landlord seeks concessions
                                                                 from the Trustee regarding
                                                                 removal of equipment from
                                                                 premises beyond the express
                                                                 terms of the lease.

    (q)      Galenicum Health, S.L.U.’s Reservation of           This matter is being
             Rights and Objection to Cure and Assumption         adjourned to 6/8/2023 at
             and Assignment                                      1:00 p.m.
             [Filed 5/16/2023; Docket No. 191]




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    (r)      Objection of Sofgen Pharmaceuticals LLC to         Matter will be heard with
             Proposed Cure Amounts and Assignability of         the adjourned hearing date
             Contract                                           for the Sale Motion.
             [Filed 5/16/2023; Docket No. 192]                  Purchaser (Hikma) seeks
                                                                assignment of agreements
                                                                with Sofgen
                                                                Pharmaceuticals LLC

    (s)      Cardinal Health’s Limited Objection and            No purchaser is seeking
             Reservation of Rights Regarding Notice of          assumption and/or
             Executory Contracts and Unexpired Leases           assignment of contracts/
             That May Be Assumed and Assigned, Pursuant         agreements of Cardinal
             to Section 365 of the Bankruptcy Code, in          Health. Trustee will not be
             Connection With the Sale of Substantially All      proceeding to seek
             of the Debtors' Assets, and the Proposed Cure      assumption and/or
             Amounts                                            assignment of contracts/
             [Filed 5/16/2023; Docket No. 193]                  agreements of Cardinal
                                                                Health at the hearing.

    (t)      Protective Objection of Evoqua Water               Matter will be heard with
             Technologies LLC to Notice of Sale of Assets,      the adjourned hearing date
             Auction and Sale Hearing                           for the Sale Motion.
             [Filed 5/16/2023; Docket No. 194]

    (u)      Leadiant Biosciences Inc.’s Objection to the       Matter will be heard with
             Trustees Notice of Executory Contracts and         the adjourned hearing date
             Unexpired Leases that May be Assumed and           for the Sale Motion.
             Assigned, Pursuant To Section 365 of the           Purchaser (Hikma) seeks
             Bankruptcy Code, in Connection with the Sale       assignment of agreements
             of Substantially all of the Debtors Assets and     with Leadiant Biosciences
             the Proposed Cure Amounts                          Inc.
             [Filed 5/16/2023; Docket No. 195]

             and

    (u-1)    Notice of Filing Exhibit to Declaration in
             Support of Objection to the Trustee’s Notice of
             Executory Contracts and Unexpired Leases that
             may be Assumed and Assigned, Pursuant to
             Section 365 of the Bankruptcy Code, in
             Connection with the Sale of Substantially all of
             the Debtors’ Assets and the Proposed Cure
             Amounts filed by Leadiant Biosciences, Inc.
             [Filed 5/25/2023; Docket No. 255]


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    (v)      Limited Objection and Reservation of Rights of        No purchaser is seeking
             Thea Pharma Inc. and Laboratoires Théa Sas to         assumption and/or
             the Trustee’s (I) Cure Notice and (II) Sale           assignment of contracts/
             Motion                                                agreements of Thea Pharma
             [Filed 5/16/2023; Docket No. 196]                     Inc. and Laboratoires Théa
                                                                   Sas. Trustee will not be
                                                                   proceeding to seek
                                                                   assumption and/or
                                                                   assignment of contracts/
                                                                   agreements of Thea Pharma
                                                                   Inc. and Laboratoires Théa
                                                                   Sas at the hearing.

    (w)      Objection of Managed Health Care Associates,          No purchaser is seeking
             Inc. to Notice of Executory Contracts and             assumption and/or
             Unexpired Leases that May be Assumed and              assignment of contracts/
             Assigned, Pursuant to Section 365 of the              agreements of Managed
             Bankruptcy Code, in Connection with the Sale          Health Care Associates, Inc.
             of Substantially all of the Debtors’ Assets, and      Trustee will not be
             the Proposed Cure Amounts                             proceeding to seek
             [Filed 5/19/2023; Docket No. 213]                     assumption and/or
                                                                   assignment of contracts/
                                                                   agreements of Managed
                                                                   Health Care Associates, Inc.
                                                                   at the hearing.


    Status:             The hearing on the Trustee’s Sale Motion is being adjourned
                        approximately one (1) week subject to the Court’s availability.

                        The hearing regarding Galenicum Health, S.L.U.’s Reservation of Rights
                        and Objection to Cure and Assumption and Assignment is being
                        adjourned to June 8, 2023 at 1:00 p.m.

                        See Agenda No. 1 attachment which reflects the status of the filed Asset
                        Purchase Agreements and filed Declarations in Support of the Trustee’s
                        Sale Motion.




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MATTERS GOING FORWARD:

2.     Trustee’s Motion for Entry of Order (A) Approving Sale of Certain Inventory, Raw
       Materials and Equipment Free and Clear of Interests, and (B) Granting Related
       Relief (Buyer, Medtech Products, Inc.)
       [Filed 5/19/2023; Docket No. 217]

       Related Documents:           (a)   Trustee’s Motion to Shorten Notice Period and
                                          Schedule Expedited Hearing Regarding Trustee's
                                          Motion for Entry of Order (A) Approving Sale of
                                          Certain Inventory, Raw Materials and Equipment Free
                                          and Clear of Interests, and (B) Granting Related Relief
                                          [Filed 5/19/2023; Docket No. 219]

                                    (b)   Order Granting Trustees Motion to Shorten Notice
                                          Period and Schedule Expedited Hearing Regarding
                                          Trustees Motion for Entry of Order (A) Approving Sale
                                          of Certain Inventory, Raw Materials and Equipment
                                          Free and Clear of Interests, and (B) Granting Related
                                          Relief
                                          [Filed 5/22/2023; Docket No. 220]

                                    (c)   Declaration in Support of Trustee’s Motion for Entry
                                          of Order (a) Approving Sale of Certain Inventory, Raw
                                          Materials and Equipment Free and Clear of Interests,
                                          and (B) Granting Related Relief
                                          [Filed 5/29/2023; Docket No. 286]

       Objection Deadline:                At or prior to the hearing.

       Responses Received:                None as of this filing.

       Status:                            This matter is going forward.




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Dated: May 29, 2023                        COZEN O’CONNOR
       Wilmington, Delaware

                                     By:   /s/ John T. Carroll, III
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                                           Simon E. Fraser (DE No. 5335)
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                                           Counsel to George L. Miller,
                                           Chapter 7 Trustee




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                                AGENDA ITEM NO. 1 ATTACHMENT

                        FILED ASSET PURCHASE AGREEMENTS AND
                       DECLARATIONS IN SUPPORT OF SALE MOTION


       PURCHASER                                                    APA        Declaration
                                                                    Docket No. Docket No.

 1  Hikma Consortium Master APA                                     273        283
    (a)    Hikma Pharmaceuticals USA Inc.                           273        283
    (b)    Alcon Pharmaceuticals LTD                                273        283
    (c)    Aurobindo Pharma USA, Inc.                               273        283
    (d)    Chartwell RX Sciences LLC                                273        283
    (e)    Epic Pharma LLC                                          273        283
    (f)    Mission Pharmacal Company                                273        283
    (g)    PAI Holdings LLC d/b/a Pharmaceutical Associates, Inc.   273        283
    (h)    Saptalis Pharmaceuticals, LLC                            273        283
    (i)    Sentiss AG                                               273        283
    (j)    Stira Pharmaceuticals, LLC                               273        283
 2 Hikma Real Estate Purchase Agreement                             274        281
 3 ANI Pharmaceuticals, Inc.                                        266        275
 4 Animal Health Acquisition Inc.                                   267        276
 5 Domes Pharma S.A.                                                268        277
 6 Long Grove Pharmaceuticals, LLC                                  269        278
 7 Oak Tree Pharma LLC                                              270        279
 8 Provepharm SAS                                                   271        280
 9 Teva Pharmaceuticals, Inc.                                       272        238
 10 Cronus Pharma, LLC                                              282        284
 11 Rising NewCo LLC Real Estate Purchase Agreement                 Pending    Pending
 12 Raisin Holdings, Inc.                                           Pending    Pending




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